       Case 1:04-cr-05356-AWI Document 385 Filed 12/12/06 Page 1 of 2



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8
                IN THE UNITED STATES DISTRICT COURT FOR THE
9
                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,        )        NO. 1:04-CR-05356 AWI
                                          )
12                     Plaintiff,         )
                                          )    GOVERNMENT'S MOTION AND
13               v.                       )    ORDER TO DISMISS VIOLATION
                                          )    PETITION
14                                        )    [AMENDED]
                                          )
15   JASPREET SINGH,                      )
                                          )
16                                        )
                    Defendant.            )
17   _____________________________)

18
          The United States of America hereby moves to dismiss the
19
     Violation Petition filed on December 4, 2006, against
20
     Jaspreet Singh.
21

22
     Dated: December 11, 2006                 Respectfully submitted,
23

24                                             McGREGOR W. SCOTT
                                                    United States
25   Attorney

26                                             By /s/
                                                 MARK E. CULLERS
27                                             Assistant U. S. Attorney

28                                        1
       Case 1:04-cr-05356-AWI Document 385 Filed 12/12/06 Page 2 of 2



1             The hearing currently set for December 15, 2006 at

2    2:30pm before Judge O’Neill has been vacated.
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5
              IT IS SO ORDERED.
6
     Dated:     December 12, 2006          /s/ Lawrence J. O'Neill
7    b9ed48                          UNITED STATES MAGISTRATE JUDGE
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